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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION

CHRISTOPHER E. DORWORTH,

      Plaintiff,

v.                                          Case No.: 6:23-cv-00871-CEM-DCI

JOEL MICAH GREENBERG,
ANDREW W. GREEBERG, SUSAN
GREENBERG, ABBY GREENBERG,
AWG, INC., GREENBERG DENTAL
ASSOCIATES, LLC, GREENBERG
DENTAL & ORTHODONTICS, P.A.,
GREENBERG DENTAL
SPECIALTY GROUP, LLC, AND
A.B.,

      Defendants.



 DEFENDANT, ABBY GREENBERG’S, UNOPPOSED MOTION TO SEAL
     SELECT PARAGRAPHS FROM PLAINTIFF, CHRISTOPHER
DORWORTH’S, NOW SUPERSEDED VERIFIED COMPLAINT (DOC. NO.
               1-1) FROM THE PUBLIC RECORD

      The Defendant, Abby Greenberg, by and through her undersigned counsel, and

pursuant to Rule 1.11 of the Local Rules of the United States District Court for the

Middle District of Florida, hereby moves the Court to seal paragraphs 353, 354, 355,

622, 628, 629, 630, 632, 633, 634, 635, 641, 642, 643, 644, 645, 648, 649, and 789

(collectively, “the select paragraphs”) of Plaintiff, Christopher Dorworth’s, now
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superseded Verified Complaint (Doc. No. 1-1) from the public record. In support

thereof, Defendant, Abby Greenberg, states as follows:

      1. On May 10, 2023, Defendants filed a Joint Notice of Removal of Plaintiff,

Christopher Dorworth’s, action from the Circuit Court in and for Seminole County,

Florida to the United States District Court for the Middle District of Florida, Orlando

Division (Doc. No. 1).

      2. Attached to the Joint Notice of Removal is the Verified Complaint of

Plaintiff, Christopher Dorworth, initially filed in the Circuit Court in and for Seminole

County, Florida (Doc. No. 1-1).

      3. Following the removal of the Verified Complaint, Defendant, Abby

Greenberg, met and conferred with Plaintiff, Christopher Dorworth, regarding the

select paragraphs in the Verified Complaint (Doc. No. 1-1). Additionally, Defendant,

Abby Greenberg, filed a Motion to Strike and Seal directed at the select paragraphs

(Doc. No. 44).

      4. On June 3, 2023, Plaintiff, Christopher Dorworth, withdrew Paragraphs

354, 355, 622, 628, 629, 630, 632, 633, 641, 642, 643, and 644, in full, and all of

Paragraph 649 prior to “Abby Greenberg” from the Verified Complaint, without

prejudice, “as a courtesy to Abby Greenberg, and solely to streamline the allegations

and avoid unnecessary litigation.” See Plaintiff’s Notice of Withdrawal of Paragraphs

from Complaint (Doc. No. 36).


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       5. Subsequently, on July 7, 2023, Plaintiff, Christopher Dorworth, withdrew

Paragraphs 353, 634, 635, 645, 648, and 789 from the Verified Complaint, without

prejudice, “as a courtesy to Abby Greenberg, and solely to streamline the allegations

and avoid unnecessary litigation.” See Plaintiff’s Notice of Withdrawal of Paragraphs

from Complaint (Doc. No. 54).

       6. The Plaintiff, Christopher Dorworth, then filed an Amended Verified

Complaint that does not reassert the select paragraphs. See Doc. No. 62.

       7. Although the select paragraphs were withdrawn from the Verified

Complaint and not reasserted in the Plaintiff’s Amended Verified Complaint (Doc.

No. 62), the select paragraphs remain part of the public record at Document Number

1-1.

       8. In light of the foregoing, Defendant, Abby Greenberg, now moves the Court

to seal the select paragraphs from the public record by having the Clerk of Court

substitute a redacted version of the Verified Complaint which redacts the select

paragraphs in place of the Verified Complaint that is currently at Document Number

1-1. For the convenience of the Court, a redacted version of the Verified Complaint

(Doc. No. 1-1) redacting the select paragraphs is attached hereto as EXHIBIT A.

       9.   The Court has the authority to effectuate such relief pursuant to

the Federal Rules of Civil Procedure and Rule 1.11 of the Local Rules of the United

States District Court for the Middle District of Florida. See Wright & Miller, Federal

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Practice and Procedure: Civil § 1381 (2023); Skolnick v. Hallett, 350 F. 2d 861 (7th Cir.

1965); Alward v. Burrelle’s Info. Srvs., 2001 WL 1708779, *10 (D. Ariz. Dec. 5, 2001);

Mahurin v. Moss, 313 F. Supp. 1263, 1264 (E.D. Mo. 1970); accord Hohensee v. Watson,

188 F. Supp. 941, 942 (M.D. Pa. 1959).

      10. In accordance with Local Rule 1.11, the Defendant, Abby Greenberg,

requests that the seal by redaction remain in place for the duration of the case and

survive the termination of the case whether by dismissal, judgment, settlement, or

otherwise. Further, consistent with Local Rule 1.11, Abby Greenberg designates her

counsel of record as a person authorized to retrieve any sealed, tangible version of the

Verified Complaint (Doc. 1-1) to the extent that a sealed, tangible version exists at the

conclusion of the case. His contact information is Jason Perkins, Esquire; Carlton

Fields, P.A.; 200 S. Orange Avenue, Suite 1000; Orlando, Florida 32801;

jperkins@carltonfields.com; (407)-244-8250.

                                       CONCLUSION

      WHEREFORE, based on the foregoing discussion and authorities, Defendant,

Abby Greenberg, respectfully requests that the Court seal paragraphs 353, 354, 355,

622, 628, 629, 630, 632, 633, 634, 635, 641, 642, 643, 644, 645, 648, 649, and 789 of

the Plaintiff’s Verified Complaint (Doc. No. 1-1) by having the Clerk of Court

substitute EXHIBIT A hereto in place of the current version of the Verified Complaint

that appears at Document Number 1-1.

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DATED: Friday, August 18, 2023

                                        Respectfully submitted,

                                        /s/ Jason A. Perkins
                                        Jason A. Perkins, Esq.
                                        Florida Bar No. 0610852
                                        CARLTON FIELDS, P.A.
                                        200 S. Orange Avenue, Suite 1000
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                                        jperkins@carltonfields.com (primary)
                                        mbryan@carltonfields.com (secondary)
                                        dcarlucci@carltonfields.com (secondary)

                                        Attorney for Defendant, Abby Greenberg

          CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 3.01(G)

      Pursuant to Local Rule 3.01(g) of the Local Rules of the United States District

Court for the Middle District of Florida, counsel for Defendant, Jason A. Perkins,

hereby certifies that during the course of the week of August 14, 2023, he conferred

with all counsel of record regarding the relief sought in the instant Motion and that

there is no opposition from any party to the relief sought in the instant Motion.

                                        /s/ Jason A. Perkins
                                        Jason A. Perkins, Esq.




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                            CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on Friday, August 18, 2023, I electronically filed

the foregoing with the Clerk of the Court by using the CM/ECF system, which will

send a notice of electronic filing to all counsel of record.

                                          /s/ Jason A. Perkins
                                          Jason A. Perkins, Esq.




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